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                                                                                                  P8902041



                         CUYAHOGA COUNTY,     ETAL                              UNITED STATES DISTRICT COURT
                                 PLAINTIFF                                     FOR THE NORTHERN       DISTRICT OF
                                  - vs -                                       OHIO
                MYLAN PHARMACEUTICALS,        INC., ETAL                       Docket No. 1:23-op-45003-DAP
                            DEFENDANT


Person to be Served
AMNEAL PHARMACEUTICALS LLC                                                            AFFIDAVIT OF SERVICE
C/O CT CORPORATION
820 BEAR TAVERN RD                                                             (For Use By Private Service)
WEST TRENTON NJ 08628



Papers Served:       SUMMONS AND COMPLAINT
Service Data:
Served Successfully X        Not Served                  Date: 04/13/2023 Time: 10:12AM Attempts:

    Delivered a copy to him/her                             Name   of person served and relationship /
--- personally
                                                                                  S    Kuntz
    Left a copy with a competent
___ household member of over 14 years of
                                                                               INTAKE CLERK
    age residing therein.

        Left a copy with a person authorized
        to accept service, who provided
-X      verbal confirmation that he or she
        is authorized by appointment or law
        to receive service on behalf of the
        Defendant.


Description of Person Accepting Service:
SEX: MALE      COLOR: WHITE         HAIR:    BROWN       APP.AGE: 50         APP. HT:    5'9      APP. WT: 250
OTHER:

Comments Or Remarks:
                                                           I, JOHN JONES, was at the time of               vice a
                                                           competent adult not having a   ect interest
                                                                                                  0




Sworn    to before me this                                 in the    litig n. I decl e under penalty of
18TH day    of APRIL,    3                           ,     perjury tha the oreg ng is true and
                                                           correct.

TEAYA       C, JOHNSON    AVIS
Notap   ublic, State of New Jersey                         ---
No. 500 1658                                                Signature of Process Server                           Date
Odal fieg in
Commi    sign E¥pares 10/11/2023
                                                           Client File Number: OPC 14523
                                                           Lexitas
                                                           219 South    Street STE 102
                                                           New   Providence,    NJ 07974
                                                           908-897-0273
                                                           NAPOLI SHKOLNIK,      PLLC
